
IN THE MATTER OF A MEMBER OF THE BAR OF THE SUPREME COURT OF DELAWARE: I. JAY KATZ Petitioner.
No. 1, 2010.
Supreme Court of Delaware.
Submitted: January 4, 2010.
Decided: January 6, 2010.
Before STEELE, Chief Justice, HOLLAND and BERGER, Justices.

ORDER
MYRON T. STEELE, Chief Justice.
This 6th day of January 2010, the Court having reviewed petitioner's Petition for Reinstatement,
IT IS ORDERED that I. Jay Katz be returned to the rolls of active practitioners of the Bar of the Supreme Court of the State of Delaware in good standing effective January 1, 2010.
